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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                                CASE NO. 19-59740-WLH

 KEIDRA AIESHA ALI-GADSON                              CHAPTER: 7
 aka Keidra Aiesha Gadson
 aka Keidra Aisha Sampson                              JUDGE WENDY L. HAGENAU
 aka Keidra Al-Gadson

              DEBTOR.
 U.S. BANK NATIONAL ASSOCIATION,
 NOT IN ITS INDIVIDUAL CAPACITY BUT                    CONTESTED MATTER
 SOLELY AS TRUSTEE FOR RMTP TRUST,
 SERIES 2021 BKM-TT,

                MOVANT.
 V.

 KEIDRA AIESHA ALI-GADSON,
            DEBTOR.

 S. GREORY HAYS,
            TRUSTEE,

                RESPONDENTS.

                                     NOTICE OF HEARING

         PLEASE TAKE NOTICE that U.S. BANK NATIONAL ASSOCIATION, NOT IN ITS
INDIVIDUAL CAPACITY BUT SOLELY AS TRUSTEE FOR RMTP TRUST, SERIES 2021
BKM-TT has filed a Motion for Relief from Automatic Stay related papers with the Court seeking an
order lifting the automatic stay to allow foreclosure.

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic hearing
for announcements on the Motion for Relief from Automatic Stay at the following number: Toll Free
Number: 833-568-8864, Meeting ID: 161 202 1574 at 9:30 a.m. on January 13, 2022, in
Courtroom 1403, at the Richard B. Russell Federal Building and United States Courthouse, 75 Ted
Turner Drive, SW, Atlanta, GA 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined
by the Court in connection with this initial telephonic hearing. Please review the “Hearing
Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual
Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.) If you do not want the court to grant the
relief sought in these pleadings or if you want the court to consider your views, then you and/or your
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attorney must attend the hearing. You may also file a written response to the pleading with the Clerk
at the address stated below, but you are not required to do so. If you file a written response, you must
attach a certificate stating when, how and on whom (including addresses) you served the response.
Mail or deliver your response so that it is received by the Clerk at least two business days before the
hearing. The address of the Clerk is: United States Bankruptcy Court, 75 Ted Turner Drive, SW,
Room 1340, Atlanta GA 30303.

        If a hearing on the Motion for Relief from the Automatic Stay (the “Motion”) cannot be
held within thirty (30) days, Movant waives the requirement for holding a preliminary hearing
within thirty (30) days of filing the motion and agrees to a hearing on the earliest possible date. If
a final decision cannot be rendered by the Court within sixty (60) days of the date of the request,
Movant waives the requirement that a final decision be issued within that period. Movant consents
to the automatic stay remaining in effect until the Court orders otherwise.

Dated: December 7, 2021
                                                       Respectfully Submitted,

                                                       /s/ Laura A. Grifka____________
                                                       Laura A. Grifka, (GBN 312055)
                                                       Counsel for Movant
                                                       MCMICHAEL TAYLOR GRAY, LLC
                                                       3550 Engineering Drive, Suite 260
                                                       Peachtree Corners, GA 30092
                                                       Telephone: (404) 474-7149
                                                       Facsimile: (404) 745-8121
                                                       E-mail: lgrifka@mtglaw.com
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                                CASE NO. 19-59740-WLH

 KEIDRA AIESHA ALI-GADSON                              CHAPTER: 7
 aka Keidra Aiesha Gadson
 aka Keidra Aisha Sampson                              JUDGE WENDY L. HAGENAU
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              DEBTOR.
 U.S. BANK NATIONAL ASSOCIATION,
 NOT IN ITS INDIVIDUAL CAPACITY BUT                     CONTESTED MATTER
 SOLELY AS TRUSTEE FOR RMTP TRUST,
 SERIES 2021 BKM-TT,

                MOVANT.
 V.

 KEIDRA AIESHA ALI-GADSON,
            DEBTOR.

 S. GREORY HAYS,
            TRUSTEE,

                RESPONDENTS.

                     MOTION FOR RELIEF FROM AUTOMATIC STAY

If you are experiencing a hardship such as job loss, income reduction, or sickness due to COVID-19
and you are no longer able to make your mortgage payment please have your attorney contact our
local counsel or contact us directly to discuss what mortgage payment relief options may be
available to you. Options may include a temporary suspension of payments or similar alternative.
Not all borrowers will qualify or be eligible for these options but we encourage you to call and
determine what we can offer to assist you.


       COMES NOW U.S. BANK NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL

CAPACITY BUT SOLELY AS TRUSTEE FOR RMTP TRUST, SERIES 2021 BKM-TT,

(“Movant”) a secured creditor in the above-captioned case, by and through counsel, and moves this

Court to enter an order granting its request for relief from the automatic stay imposed by 11 U.S.C. §

362 and respectfully shows this Court as follows:

       1.      On June 24, 2019, Debtor filed a Chapter 13 petition with the Bankruptcy Court for the

Northern District of Georgia, which converted to Chapter 7 of Title 11 of the United States Bankruptcy

Code on August 3, 2021.
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       2.       Movant holds a Promissory Note secured by the Security Deed which describes real

property owned by Debtor and known as: 1691 Tree Line Road, Lithonia, GA 30058 (“Property”). A

copy of the Note, Security Deed, Allonge(s), and Assignment(s) of Mortgage, are attached hereto as

Exhibit A respectively.

       3.       Debtor executed a Promissory Note secured by a Mortgage or Security Deed. The

Promissory Note is either made payable to Movant or has been duly indorsed. Movant, directly or

through an agent, has possession of the Promissory Note. Movant is the original mortgagee or the

beneficiary or the assignee of the Mortgage or Security Deed.

       4.       Upon information and belief, the approximate payoff, exclusive of legal fees and

expenses incurred in the connection with the instant motion, due and owing to the Movant as of October

29, 2021 is approximately $79,034.18.

       5.       Based on the Debtor’s schedules, the value of the Property is approximately

$194,760.00.

       6.       The Debtor’s Statement of Intention states the Debtor proposes to retain the Property.

       7.       Debtor is in breach of the terms of the Note and Security Deed by failing to make the

contractual payments and is now due for the October 1, 2020 payment.

       Arrearages are as follows:

       (3) Payments at $744.50                                         $2,233.50
            (10/01/2020 thru 12/01/2020)
       (1) Payment at $742.56                                          $ 742.56
            (01/01/2021)
       (5) Payments at $802.03                                         $4,010.15
            (02/01/2021 thru 06/01/2021)
       (4) Payments at $747.39                                         $2,989.56
            (07/01/2021 thru 10/01/2021)
       Late Charges                                                    $ 246.98
       Property Inspection Fees                                        $ 40.00
Less Suspense Credit                                                    {$435.99}
                                                        Total          $9,826.76

       8.       Cause exists for relief from the automatic stay. Mortgage payments are not being made

to the Movant. As such, Movant’s interests are not adequately protected.
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        9.     In the event the automatic stay in this case is modified, this case dismisses, and/or the

 Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property, the

 foreclosure will be conducted in the name of Movant or Movant’s successor or assignee.

        WHEREFORE, Movant prays the Court as follows:

        1.     Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its

security interest in the Property including but not limited to any non-bankruptcy remedies to foreclose

and obtain possession;

        2.     Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this case

and so Movant may immediately enforce and implement this order granting relief from the automatic

stay;

        3.     Movant specifically requests permission to communicate with the Debtor and Debtor’s

counsel to the extent necessary to comply with applicable non-bankruptcy law; and

        4.     Grant Movant such other and further relief as the Court deems just and proper.

This the 7th day of December 2021.

                                                       Respectfully Submitted,

                                                       /s/ Laura A. Grifka____________
                                                       Laura A. Grifka, (GBN 312055)
                                                       Counsel for Movant
                                                       MCMICHAEL TAYLOR GRAY, LLC
                                                       3550 Engineering Drive, Suite 260
                                                       Peachtree Corners, GA 30092
                                                       Telephone: (404) 474-7149
                                                       Facsimile: (404) 745-8121
                                                       E-mail: lgrifka@mtglaw.com
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                                  CERTIFICATE OF SERVICE

       I, Laura Grifka, certify that on December 7, 2021, I served a copy of the foregoing Motion for
Relief from Stay and Notice of Hearing by first class U. S. Mail, with adequate postage prepaid and/or
electronic service (CM/ECF) on the following persons or entities at the addresses stated:

Via U.S. Mail
Keidra Aiesha Ali-Gadson
169 Tree Line Rd
Lithonia, GA 30058

Via CM/ECF
Rushi D. Patel
The Patel Law Group, LLC
1995 North Park Place, SE
Suite 565
Atlanta, GA 30339

S. Gregory Hays, Chapter 7 Trustee
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

                                                       /s/ Laura A. Grifka______________
                                                       Laura A. Grifka
                                                       Counsel for Movant
                                                       MCMICHAEL TAYLOR GRAY, LLC
                                                       3550 Engineering Drive, Suite 260
                                                       Peachtree Corners, GA 30092
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